              Case
           Case:     4:10-cv-04387-PJH
                 14-80010    01/21/2014 Document  195 FiledDktEntry:
                                            ID: 8944834     01/21/141-2Page 1 of 11 of 1
                                                                          Page:

                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                           January 21, 2014


       No.:                 14-80010
       D.C. No.:            4:10-cv-04387-PJH
       Short Title:         Skye Astiana v. Ben & Jerry's Homemade, Inc.


       Dear Appellant/Counsel

       This is to acknowledge receipt of your Petition for Permission to Appeal under
       23(f).

       All subsequent letters and requests for information regarding this matter will be
       added to your file to be considered at the same time the cause is brought before the
       court.

       The file number and the title of your case should be shown in the upper right
       corner of your letter to the clerk's office. All correspondence should be directed to
       the above address pursuant to Circuit Rule 25-1.
